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April 20, 2025


VIA ECF – FILED UNDER SEAL

Honorable Michael E. Farbiarz
United States District Judge
District of New Jersey
U.S. Post Office & Courthouse
Newark, New Jersey 07101

         Re: Khalil v. Trump, et al., No. 2:25-cv-1963 (MEF) (MAH)

Dear Judge Farbiarz:

         Petitioner respectfully writes to provide urgent information to the Court regarding
Petitioner and his family which is relevant to this Court’s consideration of Petitioner’s pending
Motion for Release (“Bail Motion”), ECF 93.1 At approximately 8 a.m. ET, Petitioner’s wife went
into labor and she has been admitted to a hospital in New York City to give birth to their family’s
first child. As this Court is aware, the impending birth of their child – which had been anticipated
to occur on April 28 – was a central ground upon which Petitioner sought bail from this Court, so
he can be present to emotionally and physically support his wife and their newborn child during
this pivotal moment for their family. As the birth is happening eight days earlier than expected,
Petitioner’s request has become obviously urgent.

         Petitioner’s counsel emailed the New Orleans Field Office Director for ICE Enforcement
and Removal Operations at approximately 11:35 a.m. ET today, to request a two-week long
furlough for Petitioner so he can be with his wife and his newborn child. Still, given the uncertainty
of that request, and the meritorious and now even more urgent nature of his Bail Motion, Petitioner
respectfully reiterates his request that the Court grant that motion as soon as possible.

                                                             Respectfully submitted.

                                                             /s/ Baher Azmy

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         Petitioner has filed this request under seal given the need for the family’s privacy and security and will file
the appropriate motion seeking leave of court pursuant to D.N.J. Local Rule 5.3.
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